      Case 2:18-cr-00158-CJB-JVM Document 42 Filed 08/16/19 Page 1 of 1


                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                      CRIMINAL ACTION
 VERSUS                                                        NO: 18-158
 BRIDGET LAMBERT                                               SECTION: “S”


                           RE-NOTICE OF SENTENCING

      PHOTO IDENTIFICATION REQUIRED TO ENTER THE BUILDING

Take Notice that this criminal case has been reset for sentencing on October 3, 2019 at
2:00 p.m. before Judge Mary Ann Vial Lemmon, 500 Poydras St., New Orleans, LA.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL
IMMEDIATELY   OUTSIDE   THE   AFORESAID    COURTROOM  FOR
EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


Date: August 16, 2019                          WILLIAM W. BLEVINS, CLERK

                                               by: Shannon Shedd, Deputy Clerk

TO:

Bridget Lambert (DETAINED)                     AUSA: Julie Evans, TA
                                                     Nicholas M.H. Reddick
COUNSEL FOR BRIDGET LAMBERT:                         Risa Berkower
Dylan C. Utley, CJA
                                               U.S. Marshal

                                               U.S. Probation & Pre-Trial Services Unit

                                               FBI: Corina Zapata, SA


                                               Interpreter: NONE


                                               If you change address,
                                               notify clerk of court
                                               by phone, 504-589-7704
